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                                 United States District Court
                            For the Eastern District of New York

---------------------------------------------------------------------]
Jessica Fernanda Inga Chacon,
                                                                              COMPLAINT
        Plaintiff,

v.                                                                            DKT No.: 22-1926

Merrick Garland, Attorney General of the United States;
Alejandro Mayorkas, Secretary of the United States                            Initials:
Department
of Homeland Security;
Ur M. Jaddou, Director of the United States Citizenship and
Immigration Services;
Terri A. Robinson, Acting Director of the United States
Citizenship and Immigration Services; and
Barbara Q. Velarde, Chief of the Administrative Appeals
Office,

        Defendants.

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                        COVER FOR PLAINTIFF'S COMPLAINT

                                                                         Submitted by:

                                                                         Bruno J Bembi
                                                                         Attorney for Plaintiff
                                                                         P.O. Box 5248
                                                                         Hempstead, NY 11551
                                                                         (516) 483 -7372

                                                                         BB 8381
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                                      Jurisdiction

1.      This Honorable Court has subject matter jurisdiction over this action under

28 U.S.C. sections 1331 and 1361 because this case arises under the APA, 5 U.S.C.

sections 551 et seq. This Honorable Court has jurisdiction to hear these claims

under the AP A.     Department of Homeland Security v Regents of the Diversity of

California, No. 18-587 (U.S. June 18, 2020); Perez v Cuccinelli, 949 F.3d 865 (4th

Cir. 2020); Reyes v Cissna, 737 Fed. Appx 140 (4th Cir. 2018); Casa de Md v.

United States Dep't of Homeland Sec., 924 F.3d 684 (4th Cir. 2019).

                                         Venue

2.      Venue properly lies in this District because a substantial part of the events or

omissions giving rise to this action occurred in this District. 28 U.S.C. section

1391(b). Further, Defendants are officers or employees of the United States acting

in their official capacity. 28 U.S.C. section 1391(e). Additionally, Plaintiff resides

in Nassau County, New York.


                                         Parties

3.      Plaintff, Jessica Fernanda Inga Chacon resides in Nassau County.




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4.      Defendant, Merrick Garland, is the Attorney General of the United States.

He has an office at the Robert F. Kennedy Department of Justice Building, 950

Pennsylvania Ave NW, Washington DC 20044.

5.      Defendant, Alejandro Mayorkas, is the Secretary of the United States

Department of Homeland Security with offices at 2707 Martin Luther King Jr. Ave

SE, Washington D.C. 20528.

6.      Defendant, Ur M. Jaddou, is the Director of the United States Citizenship

and Immigration Services with offices at 2707 Martin Luther King Jr. Ave, SE,

Washington DC 20528-0485.

7.      Defendant, Terri A. Robinson, is the Acting Director of the United States

Citizenship and Immigration Services with an address at National Benefits Center,

P.O. Box 25920, Overland Park, KS 66225.

8.      Defendant, Barbara Q. Velarde is the Chief of the Administrative Appeals

Office with an address at the United States Citizenship and Immigration Services,

Administrative Appeals Office, Washington DC 20529.


                                        Facts

9.      Ms. Inga submitted an application on form 1-360 to USCIS for special

immigrant juvenile status [SIJ] pursuant to 8 U.S.C. section 1101(a)(27)(J) which

CIS received on her 21st birthday which was May 30, 2017. She sent it by Federal




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Express on May 26, 2017 to FBAS, USCIS, 131 S. Dearborn St y<l FL, Chicago, IL

60603 via overnight express.



10,   In a series of adverse decisions dated January 11, 2019; August 21, 2019, .

February 4, 2020 (and possibly other dates), CIS repeatedly denied her SIJ status

based upon the fact that her form I-360 was received on her 21st birthday.



11. There is no language in 8 U.S.C. section l 10l(a)(27)(J) that requires that an

applicant for SIJ status be under 21 years of age at the time the SIJ application is

received by CIS. CIS added that requirement to its interpretation of the statute

without any lawful authority under 8 C.F.R. section 204.1 l(c)(l), now codified at 8

C.F.R section 204.ll(b)(l).    However, there is no statutory support for such a

requirement.



12.   The mailing address that CIS uses to receive I-360 applications does not

allow personal delivery of the application. It is not permitted to email a copy of

the application to a process server in Chicago who can then hand deliver the

application to CIS in a timely fashion. CIS did not allow, at that time, nor does it

allow now, electronic filing of I-360 applications.




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13.   CIS has unlawfully defined the word "petition" in its regulations, now at 8

C.F.R. section 204.11, to mean only the 1-360 application where the regulations

provide that the petition must be received before the applicant's 21 st birthday,

whereas an application first submitted to family court seeking guardianship or

custody is also called a "petition" and CIS and DHS lack the lawful authority to

define the term "petition" to mean only the 1-360 application. If the word

"petition" were used as the word plainly means, it would result in a requirement

that the petition in family court be filed before the Applicant's 21st birthday and

this would be sufficient to meet any deadlines for such process.

14. Ms. Inga filed a form I-290B around the end of August 2019 with CIS plainly

claiming membership in the class action lawsuit ofR.F.M. v Nielsen, 365 F.Supp

3d 350 (SDNY 2019), but CIS ignored that claim and denied her administrative

appeal without consideration of her rights as a class member of that lawsuit.


                                         Claims



   15. Plaintiff repeats and incorporate by reference each and every allegation

   contained in the preceeding paragraphs numbered 1 through 14 as if fully set

   forth herein.




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16. The AP A prohibits federal action that is "in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right," 5 U.S.C. section 706(2)(C),

that is "arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law," 5 U.S.C. section 706(2)(A), and that is taken "without .

observance of procedure required by law". 5 U.S.C. section 706(2)(D).

                                     First Claim

17. The facts alleged in paragraphs 1 through 14 are realleged herein. 5 U.S.C.

section 706(2)(C) prohibits federal action that is "in excess of statutory

jurisdiction, authority, or limitation, or short of statutory right". CIS had no

authority to restrict eligibility for SIJ status to those applications received before

the applicant's 21 st birthday, as 8 U.S.C. section 1101(a)(27)(J) does not use the

word "child" in its definition of a special immigrant juvenile, requiring only that

such applicants be immigrants. CIS also violated this subsection of the APA in

failing to allow for personal delivery or email delivery of the I-360 applications,

which would avert the problem caused by delays in mail services. CIS failed to

consider that exceptional circumstances exist to allow for processing of Ms.

Inga's I-360 application even though it was received on her 21 st birthday. CIS

impermissibly created its own definition of the word "petition" that deviates

from the plain meaning of the word which includes guardianship and custody

petitions. CIS also failed to consider that Ms. Inga is a class member ofR.F.M.



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v. Nielsen, and that class action does not permit rejection of 1-360 applications

received on the minor's 2ist birthday.

                                    Second Claim

18. The facts alleged in paragraphs 1 through 14 are realleged herein .. 5 U.S.C.

section 706(2)(A) prohibits agency action that is "arbitrary, capricious, an abuse

of discretion, otherwise not in accordance with law". CIS had no authority to

restrict eligibility for SIJ status to those applications received before the

applicant's 21stbirthday, as 8 U.S.C. section 1101(a)(27)(J) does not use the

word "child" in its definition of a special immigrant juvenile, requiring only that

such applicants be immigrants. CIS also violated this subsection of the APA in

failing to allow for personal delivery or email delivery of the 1-360 applications,

which would avert the problem caused by delays in mail services. CIS failed to

consider that exceptional circumstances exist to allow for processing of Ms.

Inga's 1-360 application even though it was received on her 21 stbirthday. CIS

impermissibly created its own definition of the word "petition" that deviates

from the plain meaning of the word which includes guardianship and custody

petitions. CIS also failed to consider that Ms. Inga is a class member of R.F .M.

v. Nielsen, and that class action does not permit rejection of 1-360 applications

received on the minor's 21stbirthday.




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                                   Third Claim

19. The facts alleged in paragraphs 1 through 14 are realleged herein. 5 U.S.C.

section 706(2)(D) prohibits agency action that is taken "without observance of

procedure required by law". CIS had no-authority to restrict eligibility for SIJ.

status to those applications received before the applicant's 2ist birthday, as 8

U.S.C. section 110l(a)(27)(J) does not use the word "child" in its definition of a

special immigrant juvenile, requiring only that such applicants be immigrants.

CIS also violated this subsection of the AP A in failing to allow for personal

delivery or email delivery of the I-360 applications, which would avert the

problem caused by delays in mail services. CIS failed to consider that

exceptional circumstances exist to allow for processing of Ms. Inga's I-360

application even though it was received on her 21stbirthday. CIS impermissibly

created its own definition of the word "petition" that deviates from the plain

meaning of the word which includes guardianship and custody petitions. CIS

also failed to consider that Ms. Inga is a class member of R.F.M. v. Nielsen, and

that class action does not permit rejection of I-360 applications received on the

minor's 21stbirthday.



                                   Fourth Claim

20. The facts alleged in paragraphs 1 through 14 are realleged herein.



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The Due Process clause of the Fifth Amendment to the United States

Constitution prohibits agency action that is contrary to law. CIS had no authority

to restrict eligibility for SIJ status to those applications received before the

applicant's 21 st birthday, as 8 U.S.C. section l 10l(a)(27)(J) does not use the

word "child" in its definition of a special immigrant juvenile, requiring only that

such applicants be immigrants. CIS also violated this subsection of the APA in

failing to allow for personal delivery or email delivery of the I-360 applications,

which would avert the problem caused by delays in mail services. CIS failed to

consider that exceptional circumstances exist to allow for processing of Ms.

Inga's I-360 application even though it was received on her 21 st birthday. CIS

impermissibly created its own definition of the word "petition" that deviates

from the plain meaning of the word which includes guardianship and custody

petitions. CIS also failed to consider that Ms. Inga is a class member of R.F .M.

v. Nielsen, and that class action does not permit rejection of I-360 applications

received on the minor's 21st birthday.




                                   Prayer for relief



WHEREFORE, Plaintiff respectfully requests that this Honorable Court:



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1. Assume jurisdiction and venue over this matter;



2. . Declare that:



    a.     The denials of Ms. Inga's application and her appeal and motion to

reopen or reconsider were (i)" in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right"; (ii) "arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law"; (iii) taken "without

 observance of procedure required by law"; and (iv) otherwise in violation in

 law; and (v) in violation of due process of law;



 3. Issue an injunction that sets aside the USCIS decisions denying the I-360

 petition, appeal, and motion to reopen or reconsider and order the Defendants to

 approve Ms. Inga's I-360 petition;



 4. Award attorney's fees pursuant to 28 U.S.S. section 2412; and



 5. Grant such further relief as the Court deemsjust, equitable, and appropriate.




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                                             Respectfully submitted,




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                                             BB 8381




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